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 7                         UNITED STATES DISTRICT COURT
 8                        CENTRAL DISTRICT OF CALIFORNIA

 9
       JOSE ESTRADA,                                   Case: 2:20-cv-10767-JAK-E
10
             Plaintiff,                                Plaintiff’s Notice of Voluntary
11
        v.                                             Dismissal With Prejudice
12
       ESA P PORTFOLIO OPERATING                       Fed. R. Civ. P. 41(a)(1)(A)(i)
13     LESSEE LLC, a Delaware Limited
       Liability    Company;      ESA
14     MANAGEMENT, LLC, a Delaware
       Limited Liability Company; and
15     Does 1-10;

16           Defendants.
17           PLEASE TAKE NOTICE that Plaintiff Jose Estrada, hereby
18    voluntarily dismisses the above captioned action with prejudice pursuant to
19    Federal Rule of Civil Procedure 41(a)(1)(A)(i).
20           Defendant ESA P Portfolio Operating Lessee LLC, a Delaware Limited
21    Liability Company and ESA Management, LLC, a Delaware Limited Liability
22    Company has neither answered Plaintiff’s Complaint, nor filed a motion for
23    summary judgment. Accordingly, this matter may be dismissed without an
24    Order of the Court.
25    Dated: April 23, 2021                CENTER FOR DISABILITY ACCESS
26
27                                         By: /s/ Amanda Seabock
28                                         Amanda Seabock
                                           Attorney for Plaintiff

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                  Plaintiff’s Notice of Voluntary Dismissal With Prejudice Pursuant to
                               Federal Rule of Civil Procedure 41(a)(1)(A)(i)
